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8 UNITED STATES DISTRICT COURT
9 CENTRAL DISTRICT OF CALIFORNIA
10
In re Case No.: CV08-06090 FMC (AGRx)
11 |} STEVEN BENHAYON, an Individual, Assigned to Hon. Florence-Marie

Cooper [Courtroom 750 (Roybal)]

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Plaintiff,

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PLAINTIFEF’S OPENING BRIEF RE:

vs.

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ROYAL BANK OF CANADA, a Canadian| )) Pees TOP MAT oy OF
company, business form unknown; RBC TOP T EXEMPTION

WEALTH MANAGEMENT Company, FO THE U.S. WEALTH
formerly RBC DAIN RAUSCHER, INC., ACCUMULATION PLAN; AND

business form unknown; THE ROYAL
BANK OF CANADA US WEALTH) 2) DEFENDANTS’ EXECUTION OF
ACCUMULATION PLAN, formerly known! THE U.S. WEALTH

as RBC Dain Rauscher Wealth ACCUMULATION PLAN IN BAD

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20 |! Accumulation Plan; and, DOES 1 through FAITH

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22 Defendants.

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24 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD HEREIN:
25 Plaintiff STEVEN BENHAYON hereby submits his Opening Brief Re: 1)
26 || Non-Applicability of ERISA’s Top Hat Exemption to the U.S. Wealth Accumulation
27 ||Plan; and 2) Defendants’ Execution of the U.S. Wealth Accumulation Plan in Bad
28 || Faith, as follows.

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PLAINTIFF’S OPENING BRIEF RE: ERISA ISSUES

 

 

 
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MEMORANDUM OF POINTS AND AUTHORITIES
I INTRODUCTION

This is a wrongful termination action, wherein the ROYAL BANK OF
CANADA and RBC WEALTH MANAGEMENT COMPANY, formerly RBC DAIN
RAUSCHER, INC. (hereinafter collectively “the RBC Defendants” or “RBC’),
terminated Plaintiff STEVEN BENHAYON from employment without cause 120
days before his pension benefits under RBC’s US Wealth Accumulation Plan
(hereinafter “the WAP”’) were due to vest.

Counsel for Defendants have recently stipulated that for purposes of this
litigation, the WAP constituted an employee benefits plan governed by the Employee
Retirement Income Security Act of 1974, as amended (29 U.S.C. §§ 1001-1381)
(hereinafter “ERISA’’).

Given the fact that the WAP is an ERISA plan, Plaintiff hereby respectfully
submits this brief so that this Court can determine the following bifurcated issues:

First, whether ERISA’s “top hat” exemption applies to the WAP.

Second, whether the WAP was set up so as to specifically preclude benefit
vesting and distributions to employees, like Plaintiff, who were terminated without
cause. This is a critical issue inasmuch as the WAP is completely silent on the
vesting and distribution of an employee’s benefits when such an employee is
terminated without cause. The WAP only addresses the following contingencies for
vesting and distribution of benefits: death, disability, retirement, termination for
cause, and termination due to restructuring. Without specific language in the WAP
addressing the vesting and distribution of WAP benefits where an employee is
terminated without cause — just like Plaintiff — one cannot help but wonder whether
RBC deliberately and purposefully kept silent on the issue so that when employees
like Plaintiff were just months away from their vesting and distribution date, RBC
could terminate such employees without having to pay their due benefits. Plaintiff

respectfully submits that this is exactly what happened in the instant case.

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PLAINTIFE’S OPENING BRIEF RE: ERISA ISSUES

 
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With regard to the top hat exemption, which RBC claims applies to the WAP,
the facts of this case alone should compel the conclusion that no such exemption
applied. Here, according to RBC’s own discovery responses, approximately One
Thousand Two Hundred (1,200) of its U.S. employees participated in the WAP.
This vast number of participants defies the statutory law and case law which defines a
top hap plan as a plan maintained “primarily for the purpose of providing deferred
compensation for a select group of management or highly trained employees.”

In the seminal case, In re New Valley Corporation, the court held that top hat
plans are extremely narrow and “must cover relatively few employees.” The New
Valley court further concluded that top hat plans are a “rare sub-species of ERISA
plans, and Congress created a special regime to cover them.”* The simple fact in this
case is that in relation to the number of RBC’s management or highly trained
employees in the U.S., One Thousand Two Hundred (1,200) far exceeds any
purported select group of high-level employees.

Further, Plaintiff submits that the group of participants that the WAP covered
comprised mere sales employees — not executives or officers of RBC. Despite being
well paid due to their productivity, these sales employees, like Plaintiff, had no
bargaining power whatsoever to substantially influence and negotiate the terms of the
WAP so as to ensure that the WAP protected their pension interests. Plaintiff was
neither allowed nor in a position to negotiate the particular terms and conditions of
the WAP. His “invitation” to participate in the WAP was purely on a “take-it-or-

leave-it” basis. Indeed, the sales employees were simply handed the summary of the

 

' 99 U.S.C. §§ 1051(2), 1081(a)(3), and 1101(a)(1); In re New Valley Corporation, 89
F.3d 143, 148 (1996); Miller v. Eichleay Engineers, Inc., 886 F.2d 30, 34 n. 8 (3 Cir.
1989) (Emphasis added.)
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PLAINTIFF’S OPENING BRIEF RE: ERISA ISSUES

 
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plan provisions and encouraged to enroll so as to receive lucrative matching employer
contributions and a performance bonus. Pursuant to prevailing case law that will be
discussed below, such lack of bargaining power over the terms and conditions of the
plan compels the conclusion that such a group of employees was not sufficiently
“select” to be considered a “select group” for purposes of the top hat exemption.*

Why is the top hat distinction so important even though Defendants stipulate
that WAP was an ERISA plan? The answer is that ERISA plans that are not top-hat
exempted are subject to a stringent set of statutory rules and attendant fiduciary duties
under ERISA. Top hat plans, on the other hand, are not governed by the same set of
stringent rules. Rather, because Congress has determined that they are such a “rare
sub-species of ERISA plans,” they are governed by the federal common law of
contract — and nothing more.” Given the plethora of U.S. RBC employees that
participated in the WAP along with Plaintiff, Plaintiff submits that the Participating
Employee pool was not a “select group” as required to qualify the WAP as a top hat
plan and remove it from the strictures of ERISA law.

Last, it is undisputed that RBC terminated Plaintiff without cause. However, a
review of the WAP reveals that RBC has interestingly omitted any provisions
regarding Participating Employees who are not terminated for cause, but, like
Plaintiff, are arbitrarily terminated without cause. This issue is significant in that
upon Plaintiff's invitation to participate in the WAP in 2003, the WAP expressly
provided that Participating Employees who separated from the RBC before the four-
year distribution date of January 1, 2008, were able to receive WAP distributions. In

fact, the 2003 WAP provided that if a Participating Employee was no longer with

 

* See Carrabba v. Randalls Food Markets, Inc., 38 F.Supp.2d 468 (N.D. Tex. 1999);
Duggan v. Hobbs, 99 F.3d 307 (9th Cir. 1996); Demery v. Extebank, 216 F.2d 283
(2d Cir. 2000).

° Id. at 149 citing Barrowclaugh v. Kidder, Peabody & Co., 752 F.2d 923, 926 (3
Cir. 1985) (Barrowclaugh remains good law for all points cited in the New Valley
opinion, although certain points have been subsequently overturned.)

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PLAINTIFE’S OPENING BRIEF RE: ERISA ISSUES

 
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RBC at the date of the scheduled distribution (January 1, 2008) he or she could
arrange to receive his or her WAP distributions in two annual installments.®
Furthermore, the 2007 WAP provides that: “If Separation occurs prior to the
otherwise schedule In-Service Payment Date [here, January 1, 2008], then ... the
Account Balance shall be distributed due to Separation[.]"” The 2007 WAP also
provides that: “If the participant did not indicate a distribution date on his or her
Election Forms ... then distribution of the Account Balance will be made as soon as
practicable after July 1 following the date of vesting.’””

Despite the foregoing, when Plaintiff requested his due distributions after
separating from RBC, RBC refused to honor his request. RBC wholly ignored the
provisions regarding distributions upon separation as provided in the 2003 WAP.
Interestingly, RBC ignored the distribution provisions of the 2003 WAP because
2003 was the year the four-year vesting period was promised to begin. RBC’s
employer contributions were due to vest on January 1, 2008 — just 120 days before
Plaintiff’s separation. In reviewing the vesting language under the 2007 WAP, it
provides for: 1) Vesting of Voluntary Deferred Compensation; 2) Vesting of
Mandatory Deferred Compensation and Company Distributions; 3) Termination for
Cause; 4) Terminations due to Restructuring; and 5) Forfeitures.”

While the foregoing clauses address RBC’s policies regarding the vesting and
distributions of WAP benefits upon separation of a Participating Employee by reason

of retirement and termination fer cause, there is absolutely no language that addresses

 

® All references shall be to the Administrative Record. “AA” shall denote those
portions of the Administrative Record which Defense Counsel provided to Plaintiffs
Counsel, and “SAA” shall denote those supplemental portions of the Administrative
Record subject to “Plaintiff's Supplement to the Administrative Record,” filed
concurrently herewith. See SAA 062.

’ See AA 021.

® See id.

” See SAA 062.

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PLAINTIFE’S OPENING BRIEF RE: ERISA ISSUES

 
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the separation of a Participating Employee when the company simply terminates said
employee without cause — as in the instant case. The absence of such language creates
an extremely favorable loophole for Defendants: RBC, through its WAP Committee
(which has full decision-making discretion relative to the WAP and is comprised of
human resource persons who also have the responsibility of hiring and firmg RBC
employees), can totally circumvent paying benefits by terminating an employee prior
to the vesting date, thus precluding the employee from being employed as of the date
of the vesting, so as to reap the long-awaited benefits earned four years prior. As this
Court understands — and as Defendants, a group of sophisticated international
companies, understand — an employee can leave a company or be terminated for
myriad reasons not relating to death, disability, retirement, or cause.

It is wholly untenable that RBC’s failure to address the issue of vesting of
benefits in a situation where one of its employees was terminated without cause was
merely an oversight. Rather, Plaintiff submits that RBC deliberately and in bad faith
chose not to address the “terminated without cause” issue so that, just as in this case,
RBC could avoid paying Plaintiff the benefits to which he was entitled. Due to
RBC’s bad faith decision not to address the “terminated without cause’’ issue,
Plaintiff was effectively used as a pawn in RBC’s game to squeeze the most
productivity it could out of him, and in complete violation of public policy and
decency, “robbed” Plaintiff of his deserved compensation that was due to vest and be
distributed 120 days from his date of termination.

Il STATEMENT OF FACTS

Before he was terminated without cause on September 17, 2007, Plaintiff was

 

the Managing Director of Institutional Sales/Fixed Income Sales U.S., for Defendant
RBC’s Capital Markets division in San Francisco.

Since his hiring date of November 1, 1990, Plaintiff was a valued long-term
employee with RBC (and its predecessor, Sutro Partners). During his career with

RBC, which spanned approximately approximate 17 years, Plaintiff was a leading

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PLAINTIFE’S OPENING BRIEF RE: ERISA ISSUES

 
Case 7

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employee and a recipient of several awards for his productivity and sales figures.
Indeed, for at least the five years leading up to his September 17, 2007 termination, at
a point when the financial markets were extremely volatile, Plaintiff was consistently
in the top 10 percent for sales throughout RBC’s Fixed Income Sales Unit. Plaintiff
was a yearly recipient of RBC’s esteemed “Pinnacle Award,” which is based solely
on an employee’s productivity. In each of Plaintiff’s performance evaluations dated
October 26, 2006, and June 30, 2006, Plaintiff was rated as “High
Performing/Outstanding” and “Outstanding,” respectively. Plaintiff was exactly the
type of exemplary and talented employee that RBC wished to keep in order to grow
its business and propel its reputation in the U.S. financial markets.

In 2003, recognizing Plaintiff's talent and stellar productivity, Defendant RBC
invited Plaintiff to participate in the WAP. RBC designed the WAP “for those
employees who contribute greatly to the success of the firm” and as a means of
providing financial benefits to Plaintiff so as to incentivize him to stay with RBC.
(See AA 049.)

Pursuant the 2003 Plan Summary, Plaintiff was eligible to make voluntary
deferrals to the WAP of up to 10 percent of his yearly compensation over $100,000,
which RBC would then match. (See AA 049.) Plaintiff also had the option of making
a voluntary deferral to the WAP of up to 20 percent of his yearly compensation over
$100,000. Further, Plaintiff had the opportunity to participate in the WAP Production
Bonus and Company Variable Match programs, which would yield yet additional
layers of attractive financial benefits for Plaintiff, to encourage him to be even more
productive than he already was.

An attractive “selling point” of the WAP was that it expressly provided that all
WAP Production Bonuses and matching contributions made by RBC were subject to
four-year vesting. (See AA 049.) Thus, based on Plaintiff's 2003 productivity, and
provided that Plaintiff agreed to defer 20 percent of his compensation, Plaintiff was

eligible for both employer matchings (as to the first 10 percent) and a WAP

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PLAINTIFF’S OPENING BRIEF RE: ERISA ISSUES

 
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Production Bonus. These company matchings and the WAP Production Bonus that
Plaintiff earned for 2003 were due to vest on January 1, 2008. (See AA 049.) Indeed,
the 2003 Plan Summary that RBC provided to Plaintiff stated that the vesting periods
for the deferrals were as follows:

e Voluntary Deferrals: Immediate vesting;

e WAP Production Bonus: Four years after bonus is credited (1/1/2008);

and

e Company Variable Match: Four years after bonus is credited (1/1/2008).
(See AA 049.)

Throughout the annual WAPs, all of Plaintiff's Company Variable Matchings
and WAP Production Bonus were expressly due to vest in four years. Plaintiff and all
other participating employees had to wait four years to receive their due distributions.
Given the four-year waiting periods, it was as if RBC was constantly dangling a
carrot in front of Plaintiff’s nose to keep him on board as long as possible — that is, as
long as RBC was willing to keep him before they decided to terminate him without
cause.

As’ for employees who “separated” from RBC prior to the scheduled
distribution date, the WAP allowed such “separated” employees to receive
distributions as well. RBC defined the term “Separation” as “the date of a Plan
Participant’s separation of employment from the Company.” (See SAA 059.) With
respect to employees who “separated” from RBC prior to the scheduled distribution
date, the WAP provided as follows:

“Distributions. Upon electing to participate in the Plan, a
participant will make an irrevocable election with respect to the
timing of the payment of the amounts credited to such
participant’s accounts. A participant may elect to have such
distribution made either (i) upon the earlier of a specified date
(which date must fall on the last day of a calendar quarter;
provided that, any distribution shall be made prior to the last
day of a calendar quarter if such distribution would result in

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PLAINTIFE’S OPENING BRIEF RE: ERISA ISSUES

 
Case 7

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payments to a participant in more than one calendar year) or
the date of his ... Separation if prior to such specified date,
or (ii) upon such Separation.

[I]f the employee is no longer with RBC at the date of the
scheduled distribution, such distribution shall be in two
annual installments if the election is triggered by the
participant’s Separation prior to the date certain.

Upon Separation, the first installment shall be equal to 50% of
all amounts deemed allocated to a participant’s accounts on the
first payment date, and the second installment shall be equal to
the remainder of all amounts deemed allocated to such
participant’s accounts on the second payment date[.]”

(See SAA 062.) (Emphasis added.)

Plaintiff was encouraged by the WAP as an attractive vehicle to make his
money work best for him, while he continued to work his best for RBC. Given the
attractive nature of the WAP, Plaintiff accepted his invitation to the WAP in 2003. As
Plaintiff was a huge earner for RBC, and given that he had two performance
evaluations in mid- and late-2006 that rated him as “Outstanding” and “High
Performing/Outstanding,” respectively, he justifiably believed that he would, at the
very least, maintain his employment with RBC until January of 2008. Simply put,
there was no indication from RBC at any time that Plaintiff was in jeopardy of being
fired without cause.

However, out of nowhere, on September 17, 2007, Plaintiff received notice of
his termination from RBC. (See Exhibit “A” attached to the Declaration of Kari M.
Myron, and incorporated herein by this reference.) While the termination itself was a
tremendous shock to Plaintiff, who had been doing so well for RBC, the timing of the
termination was even more shocking. Plaintiff's termination fell on a day when he
was 120 days away from his four-year WAP vesting date. Plaintiff submits that
the timing of his termination was not fortuitous. Plaintiff further submits that the
label of his termination “due to restructuring” was, like its timing, not a matter of

coincidence, but rather, part of a scheme by RBC fueled by greed to squeeze as much

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PLAINTIFF’S OPENING BRIEF RE: ERISA ISSUES

 
Case 4

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productivity out of Plaintiff, and as much cash out of him, which RBC intended to
forfeit from day one.
Plaintiff's termination was not “for cause” as set forth in the WAP. Indeed,

relative to termination “for cause,” the WAP expressly provides in pertinent part:

“4.3 Termination For Cause. Notwithstanding anything to
the contrary in this Section 4, if a participant ceases to be
employed by the Company ... at any time prior to the
distribution of the investments described herein due to his or
her gross or willful misconduct during the scope of his or her
employment, including theft or commission of a gross
misdemeanor or felony, upon such participant’s termination all
of his or her Mandatory Deferred Compensation and Company
Contributions will be forfeited, regardless of whether the
vesting schedule has otherwise been satisfied ... and the
proceeds thereof will be deemed returned to the Company.”

(See AA 020.)

Here, Plaintiff's termination from RBC was not due to any gross or willful
misconduct on his part during the scope of his employment with RBC. In fact,
Defendants do not claim or make any assertions that Plaintiff's separation from RBC
was due to theft or commission of a gross misdemeanor or felony. Rather, it is
undisputed that Plaintiff's termination was part of an “arbitrary” termination by RBC,
which, per RBC, ranges in scope from “position elimination” to “reduction in force”
to “reorganization in the face of challenging credit markets.” As Plaintiff’s
termination from RBC was not “for cause” (using the WAP definition), he is not and
was never subject to forfeiture of his deferred compensation, WAP Production Bonus,
and Company Contributions under the WAP.

On November 9, 2007, Plaintiff submitted written claims to the Human
Resources Department of RBC Capital Markets Corporation, in New York, as well as
the Human Resources Department of RBC Dain Raushcer, Inc., in Minneapolis,
demanding distribution of his benefits. Plaintiff informed both Departments that his

separation from RBC was neither voluntary nor for cause, and that he was entitled to

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PLAINTIFE’S OPENING BRIEF RE: ERISA ISSUES

 
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an immediate distribution of his benefits under the WAP. (See AA 076-081.)

On November 12, 2007, Plaintiff requested a review of Plaintiff's WAP
account by the WAP Committee, and further requested accelerated vesting of all
employer contributions, in accordance with the terms of the WAP. (See AA 74-75.)

On November 15, 2007, shortly after Plaintiff's claims on RBC for vesting
and distribution of his deferred compensation and Company Contributions, RBC’s
Senior Associate General Counsel, Todd W. Schnell, informed Plaintiff that “the
terms of the Wealth Accumulation Plan do not provide for the accelerated vesting of
employer contributions that you seek.” (See AA 72-73.)

On December 11, 2007, Mr. Schnell informed Plaintiff that his unvested
portion of the employer contributions to his WAP had been forfeited. (See AA 71.)

On February 6, 2008, Plaintiff requested a reconsideration of the Committee’s
denial of accelerated vesting and distribution. (See AA 65-70.)

Despite Plaintiffs efforts, Mr. Schnell informed Plaintiff on April 9, 2008, that
the Committee had once again decided not to approve Plaintiff's request for
accelerated vesting and distribution. (See AA 64.)

It must be noted that in each of Mr. Schnell’s letters to Plaintiff's counsel, he
represented that the Committee had reviewed Plaintiff’s claim, and that the
Committee had determined that Plaintiff was not entitled to accelerated vesting and
distribution. Most interestingly, however, the only minutes of the Committee
regarding Plaintiff’s termination are dated April 7, 2008 — 5 months after Plaintiff’s
initial claims to Defendants. (See AA 301.) This begs the question: If the only
Committee minutes regarding Plaintiff’s claim were entered on April 7, 2008, how is
it possible that the Committee convened and reviewed Plaintiff's claim on November
15, 2007 and December 11, 2007, as represented in Mr. Schnell’s letters to Plaintiff's
counsel? Either the Committee convened regarding Plaintiff's termination and did
not enter mimutes on the record, which is unlawful, or the Committee did not meet on
November 15, 2007 and December 11, 2007, as Mr. Schnell represented, and Mr.

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PLAINTIFF’S OPENING BRIEF RE: ERISA ISSUES

 
Case 2

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Schnell took it upon himself as Senior Associate General Counsel to review and reject
Plaintiff’s claims himself. Pursuant to the 2007 WAP, “All decisions on claims and
reviews of denied claims will be made by the Committee.” If, indeed, Mr. Schnell
made the decisions as to Plaintiff’s claims, that presents a major violation of the
WAP.

After exhausting all of his administrative remedies, Plaintiff was forced to file
the instant suit against Defendants. Defendants have answered, and assert as an
affirmative defense that the WAP is exempt from ERISA’s stringent laws as a “top
hat” plan.

Il. AT ALL TIMES RELEVANT, THE WAP WAS AN EMPLOYEE
BENEFITS PLAN GOVERNED BY ERISA, AND, AS SUCH, IS
SUBJECT TO ERISA’S REQUIREMENTS
In determining whether an employee benefits plan is an ERISA plan, the

circuits have all adopted the test laid out in Donovan v. Dillingham, 688 F.2d 1367

(11th Cir. 1982). Pursuant to the Dillingham test, a plan is an ERISA plan if it is: “1)

a plan, fund, or program, 2) established or maintained, 3) by an employer, by an

employee organization, or both, 4) for the purpose of providing retirement benefits or

deferred income for periods extending beyond the termination of employment, 5) to

employees. fd. at 1373.

On January 13, 2009, Defendants raised as their Twentieth Affirmative
Defense that Plaintiffs claims are barred, in whole or in part, because the Plan is not
subject to the provisions of ERISA.

In response, on or about March 17, 2009, Plaintiff propounded discovery to
Defendants seeking “all facts” in support of their Twentieth Affirmative Defense. In
response to Plaintiffs discovery, Defendants stated that for purposes of this litigation,
they: “[Will not oppose Plaintiff’s contention that the Plan is an “employee benefit
plan’ regulated and governed by the ERISA.”

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PLAINTIFE’S OPENING BRIEF RE: ERISA ISSUES

 
Case 2!

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IV. THE WAP IS NOT A TOP HAT PLAN, WHICH WOULD EXEMPT IT

FROM ERISA’S GOVERNANCE

Defendants claim that even if the WAP is an ERISA plan, it is nonetheless
exempt from ERISA’s rules and regulations as a “top hat” plan. Notwithstanding
Defendants’ contentions, the WAP fails as a top hat plan, among other things, because
it did not cover a “select group” of employees, and was not an “unfunded” plan, as
required by law.

A “top hat” plan is an employee benefit plan “that is unfunded and is
maintained by an employer primarily for the purpose of providing deferred
compensation for a select group of management or highly compensated employees.”
29 U.S.C. 8§ 1051), 1081(a)(3), 1101(a)(1) CERISA § 201(2), § 301(a)(3), §
401(a)(1)) (Emphasis added.) Top hat plans are subject to the exclusive jurisdiction
of ERISA [ERISA §§ 201(2), 301(a)(@)], but, as will be discussed extensively below,
are exempt from ERISA’s vesting, funding and fiduciary requirements (and thus
individual fiduciary liability). ERISA § 401(a)(1), 29 U.S.C. § 1101(a)(1). In re New
Valley Corp., 89 F.3d 143, 146 Grd Cir. 1996); Starr v. MGM Mirage, 2006 U.S. Dist
LEXIS 80760 at *7-8 (D. NV 2006).

A. THE WAP DID NOT COVER A “SELECT GROUP” OF

EMPLOYEES SO AS TO QUALIFY AS A TOP HAT PLAN.

In analyzing the “select group” of employees issue, the court in In re New
Valley Corp., stated: “This final limitation has both quantitative and qualitative
restrictions. In number, the plan must cover relatively few employees. In character,
the plan must cover only high level employees. Because of these limitations, top hat
plans form a rare sub-species of ERISA plans, and Congress created a special regime
to cover them.” In re New Valley Corp., supra, 89 F.3d at 148.

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PLAINTIFF’S OPENING BRIEF RE: ERISA ISSUES

 

 
Case Z

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1. The Number Of WAP Participants Far Exceeds The Amount Of
Employees Permissible To Constitute A “Select Group.”

In Duggan v. Hobbs, 99 F.3d 307 (9th Cir. 1996), the Ninth Circuit dealt with
the issue of what a “select group” means in order for a plan to qualify as a top hat
plan. There, the plaintiff brought suit against his former employer for violations of
ERISA, after the employer terminated the plaintiff's benefits under the employer’s
ERISA severance plan. fd. The Duggan court reasoned that employees are part of a
“select_group’’ where the employer’s plan coverage ‘“‘is limited to a_small
percentage of the employer’s entire work force.” Jd. at 312. (Emphasis added.)
The plaintiff in Duggan was the only employee out of 23 employees who was invited
to participate in the subject plan, constituting less than 5 percent of the subject work
force. Id. Numerically, the court held that the plaintiff qualified as a “select group”
of employees. Id.

In arriving at its decision, the Ninth Circuit in Duggan looked to other courts’
handling of the “select group” issue. The Duggan court cited Darden v. Nationwide
Mut. Ins. Co., 796 F.2d 701 (4th Cir. 1986) affd, 922 F.2d 203 (4th Cir. 1991), rev'd
on other grounds, 503 U.S. 318 (1992). In Darden, the Fourth Circuit dealt with a
former insurance agent who sued his employer to recover retirement benefits under an
ERISA benefits plan. Jd. There, the plaintiff contended that the average number of
plan participants for years 1976, 1977, 1978, 1979, and 1980, was 5,315 out of a total
work force of 20,544, or 25.9 percent. Id. at 396. Defendant Nationwide, on the other
hand, argued that the average number of insurance agents for the relevant time period
was 3,272 agents out of a work force of 20,845, or 15.7 percent. /d. The court found
18.7 percent of Nationwide’s work force had participated in the plan. Id. at 397.

With this relevant “group” of 18.7 percent, the Darden court went on to
determine whether the group was “select.” fd. The court considered two opinion
letters from the Department of Labor holding that ERISA plans covering fewer than 4

percent and 0.2 percent of employees were limited to select groups. Jd. citing U.S.

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PLAINTIFE’S OPENING BRIEF RE: ERISA ISSUES

 
Case q

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Department of Labor Opinion Letters 75-64 (August 1, 1975) and 75-48 (December
23, 1975). The court held: “Although these decisions do not demarcate the upper
range of ‘select groups,’ the court finds that the group in question here,
comprising almost one-fifth of the Nationwide work force, is too large to be
considered “‘select’’ for purposes of the top-hat exemption.” /d. (Emphasis added.)

In contrast, courts have been more apt to find a “select group” where the
percentage of the work force that participates in the ERISA benefits plan is relatively
low. For instance, in Pane v. RCA Corp., 868 F.2d 631 (3d Cir. 1989), the Third
Circuit found that a top hat plan existed where the “select group” covered a group of
61 management employees out of a work force of 80,000 persons. /d. at 637. This
number averaged less than one-tenth of one percent of the work force. Id.
(Emphasis added.)

Likewise in Belka v. Rowe Furniture Corp., 571 F. Supp. 1249 (D.C. Md.

1983), the court dealt with commissioned salespersons who were invited to

 

participate in pension agreements. /d. at 1250. According to information supplied by
the employer and not disputed by the plaintiff, between 1.6 percent of the
defendant’s work force in 1972 and 4.6 percent of the work force in 1980 were
covered by the agreements. /d. at 1252. There, the court found that a top hat plan
existed where the “select group” of participants was, among other factors, low
compared to the defendant’s entire work force. Id. at 1252-53.

In the instant case, on March 21, 2001, RBC filed information with the
Department of Labor indicating that One Thousand Two Hundred (1,200) of its
U.S. employees were participants in the WAP. (See AA 09.) Assuming, arguendo,
that 1,200 employees constitutes a mere 1 percent of RBC’s work force in the U.S.,
we would be looking at a work force of 120,000 employees in the U.S. alone. Bank

of America, one of the nation’s largest banks, currently employs 132,749 full-time

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PLAINTIFF’S OPENING BRIEF RE: ERISA ISSUES

 
Case q

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associates in the U.S.'° It strains credulity to assert that the 1,200 U.S. employees
who participated in the WAP were, quantitatively, a “select group” of RBC
employees who participated in the WAP.

2. The WAP Participants — Who Were All Fixed Income Sales
Employees'' — Did Not Have The Bargaining Power To Affect Or
Substantially Influence The Terms And Conditions Of The WAP.

In Duggan v. Hobbs, the Ninth Circuit considered an Opinion Letter issued by

the Department of Labor’s, providing in pertinent part:

“{T]he top-hat exception was intended to apply to employees
who ‘by virtue of their position or compensation level, have
the ability to affect or substantially influence, through
negotiation or otherwise, the design and operation of their
deferred compensation plan[.]’”

Duggan, supra, 99 F.3d at 310 citing DOL Opin. Letter 90-14A.

There, the court found that the plaintiff — the only person making up the “select
group” — was able to exert substantial influence over the design and operation of his
severance agreement through his attorney and his negotiations with the ERISA plan’s
administrator. Jd. at 312-13. Accordingly, the court concluded that the plaintiff’s
severance agreement was maintained for a “select group” within the meaning of
section 1101 (a)(1). Jd.

In the seminal case of Carrabba v. Randalls Food Markets, Inc., 38 F.Supp.2d
468 (N.D. Tex. 1999), the court relied heavily on the Ninth Circuit’s reasoning in
Duggan, and stated that the significant inquiry is whether each of the members of the
“select group” of a subject ERISA plan has the bargaining power to substantially
influence the benefits, terms, and operation of the plan. /d. at 476; Duggan, supra, 99
F.3d at 312-13.

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See SAA 048, 052, 056, and 060.

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PLAINTIFE’S OPENING BRIEF RE: ERISA ISSUES

 
Case 7

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Similar to Plaintiff's case, in Carrabba, the plan was offered to “a limited
group of management employees who contribute materially to the continued growth,
development, and future business success of [the employer] and its subsidiaries.” Jd.
at 471. The plan was administered and managed by a committee of members who
took recommendations from the personnel office. Jd. In the matter at hand, the
Committee was made up of Human Resources employees. (See AA 0025.) Thus, the
committee in Carrabba and the Committee in the instant case were driven by the
authority of the respective companies’ Human Resource employees. The plan
participants in Carrabba included an array of employees: division and department
managers, store directors and assistant store directors, warehouse managers, and
operations managers, among others. Carrabba, supra, 38 F.Supp.2d at 474. Ina
nutshell, the employer “considered everyone who had any level of management to be
a key employee of the company.” /d. The goal was to make participation in the
[pension plan] available to all of those key employees. Zd.

Notwithstanding the employer’s labeling of the plan participants as “key
employees,” the Carrabba court determined that there was no evidence “that the
participants in the [pension plan] were able to influence the terms of [the pension
plan], or tried to exercise any such influence” and that the participants did not have
“the bargaining power to influence the benefits or other terms of the [pension plan] in
any respect.” Id. at 476. The court held that the pension plan did not qualify as a top
hat plan because “the mere fact that the employer intends the plan to be a reward
to ‘key’ employees does not satisfy the degree of selectivity contemplated by the
statutes.” [d. at 477. In sum, the Carrabba court stated that the appropriate test for

determining whether a “select group” is sufficiently select is:

“Whether the members of the group have positions with the
employer of such influence that they can protect their
retirement and deferred compensation expectations by direct
negotiations with the employer.”

Id. at 478.

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PLAINTIFF’S OPENING BRIEF RE: ERISA ISSUES

 
Case Z

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The Carrabba test echoes the sentiment of Congress. One of Congress’ chief
concerns in drafting ERISA was “to restore credibility and faith in the private pension
plans designed for American working men and women.” H.R. Rep. No. 533, 93d
Cong., 2d Sess., reprinted in 1974 U.S.C.C_A.N. 4639, 4647 (“House Report”); S.
Rep. No. 127, 93d Cong., 2d Sess., reprinted in 1974 U.S.C.C.A.N. 4838, 4849; see
also id. at 4838 (discussing Senate bill’s response “‘to the issue of whether American
working men and women shall receive private pension plan benefits which they have
been led to believe would be theirs upon retirement”); House Report at 4643 (noting
“concern for loss of benefits by workers after long years of labor through
circumstances beyond their control’). “[MJany employees with long years of
employment are losing anticipated retirement benefits,” that employee benefit plans
“have become an important factor affecting the stability of employment and the
successful development of industrial relations,’ and that statutory protection
is necessary to “assure the equitable character of such plans and their financial
soundness.” 29 U.S.C. § 1001(a). “Implicit in_this congressional statement of
purpose is the recognition that the persons to be aided by the statute lacked
sufficient_economic_ bargaining power _to obtain contractual rights to non-
forfeitable benefits.” 29 U.S.C. § 1001(a) (Emphasis added.)

Applying the Carrabba test to the instant case, the Court should arrive at the
same conclusion. Here, as in Carrabba, RBC sought to reward several of its “key”
sales employees with company contributions and productivity bonuses. Each and
every one of the WAP participants, including Plaintiff was not an executive of RBC;
rather, like the employees in Carrabba, the RBC U.S. sales force comprised the hard-
working nuts and bolts of the RBC system. There is no doubt that Plaintiff and his
fellow sales employees were “key” to RBC’s operations in the U.S. However, the
controlling issue is not whether they were huge earners — or made RBC a lot of
money — rather, it is whether all 1,200 WAP participants of the Fixed Income Sales

Force had positions with RBC of such influence that they were able to protect their

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PLAINTIFF’S OPENING BRIEF RE: ERISA ISSUES

 
Case q

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retirement and deferred compensation expectations by direct negotiations with RBC.
The fact that Plaintiff is before this very Court trying his hardest to get the benefits he
is due under the WAP speaks volumes as to whether he was ever in a position with
RBC to substantially influence the WAP’s terms and conditions and protect his
retirement expectations.

As such, the Court should find that Plaintiff was not a member of a “select
group” required to qualify the WAP as a top hat plan.

B. THE WAP WAS NOT A COMPLETELY “UNFUNDED” PLAN AS

REQUIRED UNDER 29 U.S.C. §§ 1051(2), 1081(a)(3), AND 1101(a)(1).

As stated, to qualify as a top hap plan, the employee benefit plan must be
“unfunded.” 29 U.S.C. $§ 1051(@), 1081(a)(3), 1101(a)(1). However, a review of
ERISA, its legislative history, and the rules and regulations promulgated by the
Department of Labor does not provide a bright line test for determining whether an
ERISA plan is “funded” or “unfunded.” See Belka v. Rowe Furniture Corp., 571 F.
Supp. 1249, 1251 (D.C. Md. 1983). Rather the answer lies in the case law. See id.

In Miller v. Eichleay Engineers, Inc., 886 F.2d 30 (3d Cir. 1989) the court shed
some light on the “unfunded” definition, holding that an “unfunded” plan is one
where “every dollar provided in benefits is a dollar spent by ... the employer.” /d. at
33-34. (Emphasis added.)

In Belka, the plaintiff was invited to participate in a deferred compensation
plan in which the employer secured insurance policies on the lives of the covered
employees. Belka, supra, 571 F. Supp. at 1250. The policies were held in the
employer’s name and were considered to be a part of the employer’s general assets.
Id, at 1250-51. The court analyzed 29 C.F.R. § 2520.104.20, which exempts benefit
plans from reporting and disclosure requirements regarding benefits “provided
exclusively through insurance policies, the premiums for which are paid directly from
the employer’s general assets.” fd. at 1251 citing 29 C.F.R. § 2520.104.20. Given

that the plan’s benefits came from the employer’s general assets, the court found that

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PLAINTIFF’S OPENING BRIEF RE: ERISA ISSUES

 
Case 4

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the plan was “unfunded.” Id.

In Crumley v. Stonhard, Inc., 920 F. Supp. 589 (D.C. N.J. 1996), the court held
that an “unfunded” plan is defined as “a plan in which only the employer provides the
necessary funding for the benefits under the plan.” Td. at 592-93. (Emphasis added.)
There, the plaintiff was invited to participate in an ERISA plan, in which all benefits
were contributed by the employer. /d. at 591. More specifically, the employees were
not required to make any monetary contributions to the plan. /d. at 590.
Approximately two years after enrolling in the plan, the plaintiff was terminated from
employment. /d. at 591. The defendant employer claimed that the plan was unfunded
and thus subject to top-hat exemption. fd. Upon review, the court determined that the
employer was the sole source of all benefits and payments under the plan, and that the
plaintiff employee did not make any contributions to the plan. Jd. Based on the fact
that the employer was the sole contributor to the plan, the court held that the plan
was “unfunded.” Jd.

In the instant case, Plaintiff contributed huge amounts of layered Voluntary
Deferred Compensation into the WAP. Additionally, Plaintiff contributed huge
amounts of a separate layer of Mandatory Deferred Compensation. Each of these
contributions came directly from Plaintiff's pocket — not from RBC’s general assets
or general ledger. Thus, that portion of the WAP contributed by Plaintiff was clearly
“funded” pursuant to Belka and Crumley, which hold in the negative that “unfunded”
means “paid directly from the employer’s general assets.” See Belka, supra, 571 F.
Supp. at 1251; Crumley, supra, 920 F. Supp. at 591. As the WAP clearly comprises
Plaintiff's own contributions, RBC cannot claim that the WAP was completely
“unfunded” and thus top-hat exempted. See Miller, supra, 886 F.2d at 33-34 (an
“unfunded” plan is one where “every dollar provided in benefits is a dollar spent by
the employer”); Crumley, supra, 920 F. Supp. 592-93 (an “unfunded” plan is “a plan
in which only the employer provides the necessary funding for the benefits under the

plan”).

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PLAINTIFE’S OPENING BRIEF RE: ERISA ISSUES

 
Case 2!

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Unlike the pension plan in Crumley, the instant case presents a scenario. where
RBC’s Participating Employees, including Plaintiff, were required to defer their own
compensation to the WAP. Further unlike the pension plan in Crumley, all benefits
received pursuant to the WAP did not solely come from RBC’s general assets.
Indeed, throughout the 2003 Plan Summary, the WAP expressly states that
“components” of the WAP were the participants’ own eligible compensation — NOT
general assets of RBC.

To be sure, the 2003 Plan Summary provides:

2003 WAP Production Bonus Grid

 

WAP Production Bonus
(% of 2003 Eligible Compensation)

2003 Eligible Compensation from
Commission Grids

 

 

 

 

 

 

 

Below $300,000 0%
$300,000 to $399,999 5%
$400,000 to $499,999 7.5%

$500,000 or more 10%

 

2003 WAP Variable Match Grid

 

 

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RBC Net Income After Tax Variable Match %

FROM TO

Below $25.0 mm 0%
$25.0 mm $39.9 mm 15%
$40.0 mm $54.9 mm 20%
$55.0 mm $64.9 mm 25%
$65.0 mm $74.9 mm 30%
$75.0 mm $84.9 mm 35%
$85.0 mm $94.9 mm 40%
$95.0 mm $104.9 mm 45%

Above $105.0 mm 50%

 

(See AA 051.)

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PLAINTIFF’S OPENING BRIEF RE: ERISA ISSUES

 

 
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Given the foregoing, the Court in this matter should find that the WAP was not
“unfunded.” Accordingly, as the WAP was not “unfunded,” it cannot qualify as a top-
hat plan.

Vv. RBC SET UP THE WAP IN BAD FAITH, AS PLAINTIFF JIS
BEHOLDEN TO THE ARBITRARY AND CAPRICIOUS
DETERMINATIONS OF THE WAP COMMITTEE
Plaintiff has grave concerns as to how RBC set up the WAP. First, RBC

bestowed full authority and discretion to the WAP Committee to decide the

conditions for vesting of Company Contributions to the WAP and conditions for their
distribution. Second, the WAP is completely silent as to the contingency of an
employee’s termination without cause, i.c., involuntary lay-offs and reductions in
force. While the WAP speaks to the vesting and distributions of Company

Contributions upon an employee’s separation from RBC due to death, disability,

retirement, termination for cause, and “restructuring,” a huge gap exists as to

termination without cause.

A. THE WAP COMMITTEE WAS NOT SUBJECT TO PROPER
CHECKS AND BALANCES SO AS TO PROTECT WAP
BENEFICIARIES’ INTERESTS

Section 7.1 of the 2007 WAP states in part:

“The Committee has the full power _and_ sole discretionary
authority to make all determinations provided for in the Plan,
including, without limitation, promulgating rules and

regulations as the Committee considers necessary or
appropriate for the implementation and manage of the Plan[.]”

(See AA 025.) (Emphasis added.)

As one can easily see, this poses major problems, as the RBC employees who
were charged with the WAP’s administration were the same employees who were
responsible for its enforcement. Compounding the problematic nature, is the fact that

said employees had “the full power and sole discretionary authority to make all

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PLAINTIFF’S OPENING BRIEF RE: ERISA ISSUES

 
Case 4

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determinations provided for in the Plan.’ Simply put, at the time the WAP was in
effect, there were no checks or balances in place to ensure the just enforcement of the
WAP.

This lack of checks and balances is critical inasmuch as the Committee, as
shown below, was charged with determining whether Plaintiff was fired due to
restructuring. In its WAP, RBC bestows plenary discretion to its Committee to
determine whether an employee “ceases to be employed due to an organizational

restructuring.”
Indeed, Section 4.4 of the 2007 WAP provides:

“In the event a participant ceases to be employed by the
Company, any Participating Subsidiary and any other affiliate
of the Company due to an organizational restructuring (as
determined in the sole discretion of the Committee), all
Mandatory Deferred Compensation in such _ participant’s
account shall become vested, but all unvested Company
Contributions shall be forfeited.”

(See AA 020.) (Emphasis added.)

However, nowhere in the WAP is the term “organizational restructuring”
defined. Under 26 U.S.C. § 368(1), the following types of corporate transactions
qualify as a corporate restructuring: 1) statutory mergers or consolidations; 2)
acquisitions by one corporation, in exchange solely for all or a part of its voting stock;
3) transfers by a corporation of all or a part of its assets to another corporation; 4)
recapitalizations; 5) a corporation’s change in identity, form, or place of organization;
or 6) a transfer by a corporation of all or part of its assets to another corporation in a
title 11 or similar case.

First, as the term was never defined in the WAP, the Committee, a group of
human resource employees, had the authority to give it the meaning that they, in their
plenary discretion, wanted to it to mean. In this case, the Committee got it wrong. At

the time of Plaintiffs termination from RBC, RBC was not undergoing a merger,

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PLAINTIFEF’S OPENING BRIEF RE: ERISA ISSUES

 
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consolidation, transfer, recapitalization, change in identity or other corporate transfer
of any kind. Rather, a large percentage of Plaintiff’s work force, including Plaintiff,
in the Fixed Income Unit of RBC’s Capital Markets Division was laid off without
cause. Thus, under 26 U.S.C. § 368(1), there was no legal “restructuring” of any kind
that would justifiably permit the Committee to lump Plaintiff in that category.

Secondly, the Committee minutes are entirely silent as to any discussion of
“restructuring” — much less the reason for Plaintiff’s termination.

In Miller v. Fichleay Engineers, Inc., supra, the court recognized that when a
pension plan is controlled by the employer — or in this case, a committee of personnel
charged with controlling the plan — “there is always an incentive for the
employer/administrator to deny benefits.” Miller, supra, 886 F.2d at 33-34.

Miller’s fear that an employer would be incentivized to deny plaintiffs their
due benefits was realized in this case. Out of thin air, RBC’s Committee provided a
completely unfounded reason for Plaintiff's termination and “lumped him” into an
inapplicable category so that RBC would not have to pay him the benefits to which he
was entitled. This flies in the face of public policy and has forced Plaintiff to file the
instant lawsuit.

B. THE WAP IS COMPLETELY SILENT ON THE ISSUE OF

TERMINATION WITHOUT CAUSE

A review of the WAP reveals that relative to terminations, it only contemplates
termination for cause and is completely silent on the vesting and distribution of an
employee’s benefits when such an employee is terminated without cause. Aside from
termination for cause, the only other categories regarding an employee’s separation
from the company are death, disability, retirement, or termination due to
restructuring. (See AA 019-020.)

Determination of this issue is critical, inasmuch as the WAP provides that in
the case of death, disability, or retirement, an employee’s benefits shall vest and the

employee or his or her estate (in the event of death) shall receive his or her due

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PLAINTIFF’S OPENING BRIEF RE: ERISA ISSUES

 
Case 4

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distributions. (See AA 019.) In the event of termination for cause, the WAP provides
that all of the contributions and pension benefits of an employee participating in the
WAP are immediately forfeited and deemed returned to RBC. (See AA 020.) In the
event of an employee’s termination due to restructuring, all of the employee’s
Mandatory Deferred Compensation shall become vested, but all Company
Contributions shall be forfeited. (See AA 020.) Last, in a catch-all clause entitled
“Forfeitures,” RBC (through its Committee) has complete power and authority to
forfeit any and all benefits “that are not vested on the participant’s employment
termination date.” (See AA 020.)

The simple question, to which there is no answer in the WAP, is: “How are an
employee’s benefits treated if RBC simply decides to fire the employee without cause
before his benefits are due to vest?” Why did RBC choose to be completely silent on
this contingency, when termination without cause is a common and frequent
occurrence in the business world? RBC, a sophisticated financial institution,
presumably employed sophisticated attorneys to set up and draft the WAP. As such,
RBC will be hard-pressed to claim that its complete silence on such a contingency
was simply overlooked — especially given the fact that the WAP was in effect since
2002.

Without specific language in the WAP addressing the vesting and distribution
of WAP benefits where an employee is terminated without cause — just like Plaintiff —
one cannot help but wonder whether RBC deliberatively and purposefully kept silent
on the issue so that when employees like Plaintiff were just months away from their
vesting and distribution date, RBC was free to randomly terminate such employees
without having to pay any benefits. Plaintiff respectfully submits that this is exactly
what happened in the instant case.

As a result of the WAP’s bad-faith set up, when Plaintiff was terminated
without cause, the Committee, in its sole and plenary discretion, wrongfully

categorized Plaintiffs termination, which, in turn, resulted in the wrongful forfeiture

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PLAINTIFE’S OPENING BRIEF RE: ERISA ISSUES

 
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of the Company Contributions to which he was, and continues to be, entitled.
C. THE 2007 WAP LACKS AN INTEGRATION CLAUSE AND THUS
IS NOT THE ENTIRE AGREEMENT OF THE PARTIES.

Both the 2006 and 2007 WAPs include identical language, stating: “The plan
formerly known as the RBC Dain Rauscher Wealth Accumulation Plan and (sic) was
amended and restated effective for the Plan Year beginning January 1, 2005 and was
further amended and restated effective for the Plan Year beginning on January 1,
2007.” (See AA 033; AA 013.)

In Satchwell v. Long John Silvers, Inc., 1992 U.S. App. LEXIS 9519 *8 (9th
Cir. 1992), the court held that when determining whether a document is an integrated
contract thus not susceptible to modification by parol evidence or other writings, the
court must consider whether it contains an integration clause. The inclusion of an
integration clause suffices to preclude the court from considering the extrinsic
“factual matrix in which the contract was made.” Pannell Kerr Forster Int'l Ass'n vy.
Quek, 5 Fed. Appx. 574, 577 (9th Cir. 2001).

Here, while the two WAPs contain language regarding amendment and
restatement, the language is not sufficient to demonstrate an intent by the parties to
consider the 2007 WAP the entire agreement between the parties. Thus, the Court
may properly consider the terms and provisions of all of the plans preceding the 2007
WAP.

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PLAINTIFE’S OPENING BRIEF RE: ERISA ISSUES

 

 
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VI. CONCLUSION

Based on the foregoing, Plaintiff STEVEN BENHAYON respectfully
requests that this Court find that the WAP is not a top hat plan, and that the WAP was
set up in bad faith to prevent or frustrate Plaintiff’s entitlement to the vesting and
distribution of benefits due to him under the WAP.
DATED: July 22, 2009 BOHM, MATSEN, KEGEL & AGUILERA, LLP

By: J (a
Kari M. Myron
Matthew J. Salcedo,
Attorneys for Plaintiff STEVEN
BENHAYON

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PLAINTIFE’S OPENING BRIEF RE: ERISA ISSUES

 
 

 

 

 

 

 

 

 

 

 

 

 

 

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1 PROOF OF SERVICE
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3 STATE OF CALIFORNIA, COUNTY OF ORANGE
4 ||| am employed in the City of Costa Mesa, County of Orange, State of California. |
am over the age of 18 years and not a party to the within action. My business |
> || address is 695 Town Center Drive, Suite 700, Costa Mesa, California 92626. On
6 || July 22, 2009, | served the documents named below on the parties in this action as
follows:
7
g || DOCUMENT(S) SERVED: PLAINTIFF’S OPENING BRIEF RE: 1) NON-
APPLICABILITY OF ERISA’S TOP HAT
9 EXEMPTION TO THE U.S. WEALTH
10 ACCUMULATION PLAN; AND 2) DEFENDANTS’
EXECUTION OF THE U.S. WEALTH
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SERVED UPON: SEE ATTACHED SERVICE LIST
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(BY PERSONAL SERVICE) | caused the above-referenced
14 documents to be personally delivered on the date listed below.
15 (BY ELECTRONIC FILING WITH THE U.S. DISTRICT COURT) By
16 submitting said documents for Electronic Case Filing on said date
pursuant to Federal Rules of Civil Procedure 5(d)(3), Local Rule
17 5-4 and General Order 08-02, at Bohm, Matsen, Kegel & Aguilera,
18 LLP, 695 Town Center Drive, Suite 700, Costa Mesa, CA 92626.
19 (FEDERAL) | declare that | am employed in the office of a member of
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695 Town Center Drive, Suite 700
Costa Mesa, CA 92626

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SERVICE LIST

Benhayon vs. Royal Bank of Canada, et. al.
United States District Court, Central District of California
Case No. CV08-06090-FMC (AGRx)

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US Wealth Accumulation Plan

 

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Agents for Service for Dain Rauscher
Incorporated

 

 

 

 

 

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